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 5
 6   Attorneys for Defendant
     COSTCO WHOLESALE CORPORATION, a Washington
 7   Corporation
 8
 9                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
10                             SOUTHERN DIVISION
11
12   JANIE MICHELLE SCOTT,                          CASE NO. 8:21-cv-00686
13                      Plaintiff,                  DEFENDANT’S NOTICE OF
                                                    REMOVAL OF ACTION UNDER 28
14                                                  U.S.C. § 1441(a) (DIVERSITY)
             vs.
15
16   COSTCO WHOLESALE
     CORPORATION, A CALIFORNIA
17
     CORPORATION and DOES 1 TO 20,
18   inclusive,
19
                        Defendants,
20
21
             TO THE CLERK OF THE ABOVE ENTITLED COURT, PLAINTIFF,
22
             JANIE MICHELLE SCOTT, AND TO HER COUNSEL OF RECORD:
23
             NOTICE IS HEREBY GIVEN that Defendant, COSTCO WHOLESALE
24
     CORPORATION, a Washington Corporation (“Defendant”), hereby removes this
25
     action from the Superior Court of the State of California, County of Orange, Central
26
     District, to the United States District Court, Central District of California, Southern
27
     Division and sets forth in support of its Notice of Removal of Action the following:
28   ________________________________________________________________________________
                                                1
     Case No.:                                      DEFENDANT’S NOTICE OF REMOVAL OF ACTION
                                                    UNDER 28 U.S.C. § 1441(a) (DIVERSITY)
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 1           1.    On August 11, 2020, Plaintiff, JANIE MICHELLE SCOTT
 2   (“Plaintiff”), commenced an action against Defendant by filing a Summons and
 3   Complaint in the Superior Court of California, County of Orange, Central District,
 4   Case No. 30-2020-01154674-CU-PO-CJC. (A true and accurate copy of Plaintiff’s
 5   Summons, Complaint, Statement of Damages and Alternative Dispute Resolution
 6   (ADR) Information Packet are attached as Exhibit A to the Declaration of Tracy L.
 7   Breuer.)
 8           2.    Plaintiff filed an unlimited civil complaint seeking monetary damages
 9   in excess of $75,000.00. In the complaint, and as a result of the slip and fall
10   incident, Plaintiff claims to have suffered: (1) wage loss; (2) medical and incidental
11   expenses; (3) general damages; (4) loss of earning capacity; (5) future medical
12   expenses. (See Complaint at p. 4 and Statement of Damages.)
13           3.    Defendant was served on April 9, 2021. (A true and accurate copy of
14   Plaintiff’s Proof of Service is attached to the Declaration of Tracy L. Breuer as
15   Exhibit B.)
16           4.    Defendant first received notice of this action on April 9, 2021 a date
17   less than 30 days before the date this notice of removal is filed. Defendant has not
18   otherwise been served with any other process, pleadings, or orders, other than those
19   attached as Exhibits A and B. (See Breuer Dec. at ¶ 2, 3.)
20           5.    Defendant has filed this Notice pursuant to 28 U.S.C. § 1446(b) in a
21   timely fashion, in that this Notice has been filed within one year of the
22   commencement of the action and within 30 days of service of the summons and
23   complaint. See Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc. 526 U.S. 344
24   (1999).
25                                 Complete Diversity Exists
26           6.    This action wholly involves citizens of different states. At the time this
27   action was commenced, and since that time, Plaintiff was and is a resident and
28   ________________________________________________________________________________
                                                 2
     Case No.:                                       DEFENDANT’S NOTICE OF REMOVAL OF ACTION
                                                     UNDER 28 U.S.C. § 1441(a) (DIVERSITY)
     Case 8:21-cv-00868-JVS-ADS Document 1 Filed 05/10/21 Page 3 of 5 Page ID #:3




 1   citizen of the State of California, with her domicile in the State of California. (See
 2   Breuer Dec. at ¶ 4.)
 3           7.     Pursuant to 28 U.S.C. § 1332(c), “a corporation shall be deemed to be a
 4   citizen of any State by which it has been incorporated and of the State where it has
 5   its principal place of business.” Defendant was, at the time of the filing of this
 6   action, and still is, a citizen of the State of Washington, where it has its principal
 7   place of business and where it is incorporated. (See Exhibit C to Breuer Decl.;
 8   Breuer Decl. ¶ 5.)
 9           8.     Pursuant to 28 U.S.C. §1441(a), the fictitious defendants named in the
10   complaint are disregarded for purposes of determining the existence of diversity
11   citizenship.
12                   The Amount in Controversy Requirement is Satisfied
13           9.     Plaintiff filed an unlimited civil complaint seeking monetary damages
14   in excess of $75,000.00. In the complaint, and as a result of the slip and fall
15   incident, Plaintiff claims to have suffered: (1) wage loss; (2) medical and incidental
16   expenses; (3) general damages; (4) loss of earning capacity; (5) future medical
17   expenses. (See Complaint at p. 4 and Statement of Damages.)
18           10.    Plaintiff has served a Statement of Damages alleging          that she is
19   seeking damages for economic damages in excess of $75,000 and general damages
20   of $250,000. (See Breuer Decl. ¶ 7.)
21           11.    Thus, based on the facts provided above, the amount in controversy,
22   exclusive of interest and costs, is in the excess of $75,000.00. This Court therefore
23   has original jurisdiction of this action under 28 U.S.C. § 1332 and, because
24   Defendant is not a citizen or resident of the State of California, wherein this action is
25   pending, removal of the action to this court is proper under 28 U.S. Code § 1441(a).
26   ///
27   ///
28   ________________________________________________________________________________
                                                 3
     Case No.:                                       DEFENDANT’S NOTICE OF REMOVAL OF ACTION
                                                     UNDER 28 U.S.C. § 1441(a) (DIVERSITY)
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 1                      The Other Requirements for Removal Are Met
 2           12.   A copy of the Notice to Adverse Parties of Removal of the Case to
 3   Federal Court, which is attached to this Notice, will be filed with the Superior Court
 4   of California, County of Orange, Central District and served on all involved parties
 5   to this action. (A true and correct copy of the Notice to Adverse Parties of Removal
 6   of Case to Federal Court is attached to the Declaration of Tracy L. Breuer as
 7   Exhibit D.)
 8           13.   Removal to this Court is proper as the Superior Court of the State of
 9   California, County of Orange, where this action was originally filed, is located
10   within this district.
11           14.   Plaintiff has been served with this Notice of Removal, and the
12   additional supporting pleadings.
13           WHEREFORE, Defendant, COSTCO WHOLESALE CORPORATION,
14   prays that this action be removed to this Court.
15
16   Dated: May 10, 2021                              McNEIL TROPP & BRAUN LLP
17
18
                                            By:       /s/ Tracy L. Breuer
19                                                    Deborah S. Tropp, Esq.
                                                      Tracy L. Breuer, Esq.
20                                                    Attorneys for Defendant
21                                                    COSTCO WHOLESALE
                                                      CORPORATION a Washington
22                                                    Corporation
23
24
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28   ________________________________________________________________________________
                                                  4
     Case No.:                                        DEFENDANT’S NOTICE OF REMOVAL OF ACTION
                                                      UNDER 28 U.S.C. § 1441(a) (DIVERSITY)
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 1                              CERTIFICATE OF SERVICE
 2
            I hereby certify on May 10, 2021, I electronically filed the foregoing:
 3   DEFENDANT’S NOTICE OF REMOVAL OF ACTION with the Clerk of the
 4   Court for the United States District Court, Central District of California by using the
     Central District CM/ECF system.
 5
 6         Participants in the case who are registered CM/ECF users will be served by
     the USDC-Central District of California CM/ECF system.
 7
 8          I further certify that participants in the case not registered to as CM/ECF
     users have been mailed a true and correct copy of the above described documents by
 9   First Class Mail, postage pre-paid, to the following non-CM/ECF participants:
10
             Sean Bral, Esq.
11           Chantalle Levian
             BRAL & ASSOCIATES
12           1875 Century Park East, Suite 1770
             Los Angeles, CA 90067
13
            I am "readily familiar" with the firm's practice of collection and processing
14   correspondence for mailing. Under that practice, it would be deposited with the
     United States Postal Service on that same day, with postage thereon fully prepaid at
15   Irvine, California in the ordinary course of business. I am aware that on motion of
     the party served, service is presumed invalid if postal cancellation date or postage
16   meter date is more than one day after date of deposit for mailing an affidavit.
17
           FEDERAL:I declare under penalty of perjury in accordance with 28 U.S.C.
18   Section 1746 that the foregoing is true and correct.
19
             Executed on May 10, 2021, at Irvine, California.
20
21                                                        /s/ Tracy L. Breuer
                                                          TRACY L. BREUER
22
23
24
25
26
27
28   ________________________________________________________________________________
                                                  5
     Case No.:                                        DEFENDANT’S NOTICE OF REMOVAL OF ACTION
                                                      UNDER 28 U.S.C. § 1441(a) (DIVERSITY)
